                    IN THE UNITED STATES DISTRICT COURT
                FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                           DOCKET NO. 7:17-MJ-1014-1

UNITED STATES OF AMERICA                    )
                                            )
                     v.                     )                 ORDER OF DISMISSAL
                                            )
Ashley Alexis Miller                        )


      Ashley Alexis Miller appeared before the Honorable Robert B. Jones, Jr., U.S. Magistrate
Judge, sitting in the court at Wilmington, North Carolina, on February 8, 2017, and entered a plea
of guilty to 21 U.S.C. § 844(a). The court, with the express consent of the defendant, placed the
defendant on probation for a period of 12 months pursuant to 18 U.S.C. § 3607, without entering
a judgment of conviction.

      The court finds as a fact that Ashley Alexis Miller has complied with the terms of the
probation order and no violations have occurred.

      The court, pursuant to 18 U.S.C. § 3607(a), hereby discharges the defendant from probation
and dismisses those proceedings under which probation had been ordered.

      This the _Cf_ day of February, 2018




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